                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

        UNITED STATES OF AMERICA,                               )
                 Plaintiff,                                     ) DOCKET NO. 3:98CR050-19
                                                                )
                         vs.                                    )
                                                                ) ORDER
        JEFFERY EMIL WALL,                                      )
                   Defendant                                    )
        ___________________________________                     )


        Upon the motion of the Defendant, Jeffery Emil W all, by and through his counsel, Erin K. Taylor

of the Federal Defenders of Western North Carolina, for an order granting early termination of

Defendant’s term of Supervised Release filed November 13, 2008 (Doc. No. 555); and

        IT APPEARING to the Court that both the U.S. Attorney’s Office for the Western District of

North Carolina and the United States Probation Office of Western North Carolina consent to Defendant’s

motion; and

        IT APPEARING to the Court that such a Motion for Early Termination of Supervised Release is

for good cause;

        IT IS THEREFORE ORDERED that Defendant’s Motion for Early Termination of Supervised

Release (Doc. No. 555) be GRANTED; it is further

        ORDERED that Defendant’s term of Supervised Release be terminated effective immediately,

and this case shall be closed.

        IT IS SO ORDERED.                          Signed: December 22, 2008




       Case 3:98-cr-00050-MOC            Document 559         Filed 12/22/08       Page 1 of 1
